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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                                               Chapter 7

    BAYOU STEEL BD HOLDINGS, LLC, et al.,1                               Case No. 19-12153 (KBO)

                                 Debtors.                                (Jointly Administered)

    GEORGE L. MILLER, in his capacity as Chapter 7                       Adv. Proc. No. 21-50215 (KBO)
    Trustee of BAYOU STEEL BD HOLDINGS, L.L.C.,
    et al.,

                                Plaintiff,

    vs.

    M.A.R.S., INC. dba MODERN AMERICAN
    RECYCLING SERVICES,

                                Defendant.

                         ANSWER AND AFFIRMATIVE DEFENSES
                    OF MODERN AMERICAN RECYCLING SERVICES, INC.

             Modern American Recycling Services, Inc. (the “Defendant”) answers the Complaint for

Avoidance and Recovery of Preferential Transfers Pursuant to 11 U.S.C. §§ 547 & 550 [D.I. 1]

(the “Complaint”) filed by George L. Miller, in his capacity as chapter 7 trustee of Bayou Steel

BD Holdings, L.L.C., et al. (“Plaintiff”), for the estates of the above-captioned debtors (the

“Debtors”) in the above-captioned jointly administered cases pending under chapter 7 of title 11

of the United States Bankruptcy Code (the “Bankruptcy Code”) as follows:

                                         DEFENDANT’S ANSWER

             1.    Admitted.



1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are Bayou Steel BD Holdings, L.L.C., a Delaware limited liability company (1984), BD Bayou Steel
Investment, LLC, a Delaware limited liability company (1222), and BD LaPlace, LLC, a Delaware limited liability
company (5783).
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          2.   Admitted.

          3.   The allegations contained in Paragraph 3 of the Complaint are admitted to the extent

that Defendant admits that it is a corporation with its principal office at 499 Powhatten Court,

Gibson, Louisiana. The remaining allegations of Paragraph 3 are denied. Defendant is a

corporation organized under the laws of the State of Alabama.

          4.   Paragraph 4 of the Complaint contains a legal conclusion which does not require a

response by Defendant. To the extent a response is required, the allegations in paragraph 4 are

denied.

          5.   Paragraph 5 of the Complaint contains a legal conclusion which does not require a

response by Defendant. To the extent a response is required, the allegations in paragraph 5 are

denied.

          6.   Defendant submits that no response is required to the allegations in paragraph 6.

However, to the extent that a response is deemed required, the allegations contained in paragraph

6 of the Complaint are denied for lack of sufficient information upon which to premise a reasonable

belief of the truth asserted therein. By way of further response, Defendant does not consent to the

entry of final orders or judgment by this Court if it is determined that consent of the parties is

required by this Court to enter final orders or judgment consistent with Article III of the United

States Constitution.

          7.   Paragraph 7 of the Complaint contains a legal conclusion which does not require a

response by Defendant. To the extent a response is required, the allegations in paragraph 7 are

denied.




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        8.     Paragraph 8 of the Complaint contains conclusions of law and conclusory

allegations to which no response is required. To the extent a response is required, the allegations

in paragraph 8 are denied.

        9.     The allegations contained in paragraph 9 of the Complaint are admitted to the extent

that the Debtors made certain payments to Defendant and are identified on Exhibit A attached to the

Complaint. Any further allegations contained in paragraph 9 are denied.

        10.    The allegations contained in paragraph 10 of the Complaint are admitted to the extent

that the Debtors made certain payments to Defendant and are identified on Exhibit A attached to the

Complaint. Defendant further admits that the aggregate amount of the Transfers is not less than

$286,094.28. Any further allegations contained in paragraph 10 are denied.

        11.    Paragraph 11 of the Complaint contains conclusions of law and conclusory

allegations to which no response is required. To the extent a response is required, the allegations

in paragraph 11 are denied, except Defendant admits that Plaintiff invited an exchange of

information regarding any potential defenses, but no agreement could be reached at the present

time.

        12.    Defendant repeats and realleges its responses contained in each preceding

paragraph as though set forth fully herein.

        13.    Admitted.

        14.    Defendant is without sufficient information to admit or deny the allegations

contained in paragraph 14 of the Complaint. As such, they are deemed denied.

        15.    Defendant is without sufficient information to admit or deny the allegations

contained in paragraph 15 of the Complaint. As such, they are deemed denied.




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       16.     The allegations contained in paragraph 16 of the Complaint are conclusory and

therefore no response can be made. To the extent a response is required, the allegations are denied.

       17.     The allegations contained in paragraph 17 of the Complaint are conclusory and

therefore no response can be made. To the extent a response is required, the allegations are denied.

       18.     Defendant is unable to admit or deny the allegations contained within paragraph 18

of the complaint. As such, they are deemed denied.

       19.     Defendant is unable to admit or deny the allegations contained within paragraph 19

of the complaint. As such, they are deemed denied.

       20.     Admitted.

       21.     Paragraph 21 of the Complaint contains conclusions of law to which no response is

required. However, to the extent a response is necessary and acting out of an abundance of caution,

the allegations contained in paragraph 21 of the Complaint are denied.

       22.     Defendant repeats and realleges its responses contained in each preceding

paragraph as though set forth fully herein.

       23.     Paragraph 23 of the Complaint contains conclusions of law to which no response is

required.

       24.     Paragraph 24 of the Complaint contains conclusions of law to which no response is

required.

       25.     The unnumbered paragraph, including subsections (a) through (c), immediately

following paragraph 24 contains a prayer for relief which requires no response from Defendant.

However, to the extent a response is deemed required, the allegations contained in this paragraph,

including those contained in subsections (a) through (c), are denied for lack of sufficient

information upon which to premise a reasonable belief of the truth asserted therein.




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                                         GENERAL DENIAL

        Defendant generally denies any liability to the Plaintiff. To the extent any allegations in

the Complaint have not been specifically admitted or denied, they are hereby denied.

                                    AFFIRMATIVE DEFENSES

        AND NOW, further responding, Defendant sets out the following Affirmative Defenses:

                                 AFFIRMATIVE DEFENSE NO. 1:

        Plaintiff has failed to state a claim upon which relief can be granted.

                                  AFFIRMATIVE DEFENSE NO. 2

        Plaintiff’s claims are barred, waived, or otherwise precluded by the affirmative defenses

set forth in Federal Rules of Civil Procedure 8(c)(1) (which include: accord and satisfaction;

arbitration and award; assumption of risk; contributory negligence; duress; estoppels; failure of

consideration; fraud; illegality; injury by fellow servant; laches; license; payment; release; res

judicata; statute of frauds; statute of limitations; and waiver) and the applicable Bankruptcy Rule,

and all defenses set forth in Section 547(c) of the Bankruptcy Code.

                                  AFFIRMATIVE DEFENSE NO. 3

        Plaintiff is precluded from any recovery under the Complaint by virtue of the doctrines of

waiver, estoppel, and unclean hands, in pari delicto.

                                  AFFIRMATIVE DEFENSE NO. 4

        The Plaintiff may not avoid the alleged transfers to the extent that such transfers were taken

in good faith and for reasonably equivalent value.

                                  AFFIRMATIVE DEFENSE NO. 5

        The Plaintiff may not avoid under § 547 the alleged transfers to the extent that such

transfers were to or for the benefit of a creditor, to the extent that, after such transfers, such creditor




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gave new value to or for the benefit of the debtors--(A) not secured by an otherwise unavoidable

security interest; and (B) on account of which new value the debtors did not make an otherwise

unavoidable transfer to or for the benefit of such creditor.

                                AFFIRMATIVE DEFENSE NO. 6

        The Plaintiff may not avoid under § 547 the alleged transfers to the extent that such

transfers were in payment of a debt incurred by the debtors in the ordinary course of business or

financial affairs of the debtor and the transferee; made in the ordinary course of business or

financial affairs of the debtor and the transferee; or made according to ordinary business terms.

                                AFFIRMATIVE DEFENSE NO. 7

        The Plaintiff may not avoid under § 547 the alleged transfers to the extent that such

transfers were intended by the debtors and the creditor to or for whose benefit such transfers were

made to be a contemporaneous exchange for new value given to the debtors; and in fact a

substantially contemporaneous exchange.

                                AFFIRMATIVE DEFENSE NO. 8

        The debtors were not insolvent at the time the alleged transfers took place, and the alleged

transfers neither caused nor increased the debtors’ insolvency.

                                AFFIRMATIVE DEFENSE NO. 9

        Defendant expressly reserves any and all rights allowed and/or provided to Defendant

pursuant to 11 U.S.C. § 502(h).

                               AFFIRMATIVE DEFENSE NO. 10

        To the extent that Defendant can be found liable to Plaintiff, Defendant asserts that any

damages arising from such liability would be extinguished or reduced by application of the

doctrine of set-off.




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                                  RESERVATION OF RIGHTS

        Defendant expressly reserves the right to amend this answer by way of adding affirmative

defenses, counterclaims, cross-claims and/or third party claims as additional facts are obtained

through further investigation and discovery.

                                           CONCLUSION

        WHEREFORE, Defendant prays that these answers and affirmative defenses to the

Complaint be deemed good and sufficient, and that after all due proceedings are had, the claims of

Plaintiff be dismissed, with prejudice, all at Plaintiffs’ cost.

Dated: May 28, 2021                          ROBINSON & COLE LLP


                                             /s/ Davis Lee Wright
                                             Davis Lee Wright (DE Bar No. 4324)
                                             1201 North Market Street, Suite 1406
                                             Wilmington, DE 19801
                                             Tel: 302.516.1700
                                             Fax: 302.516.1699
                                             Email: dwright@rc.com

                                             Counsel to Defendant




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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 28th day of May, 2021, that in addition to the notice and service

provided through the Court’s ECF system, I caused a true and correct copy of the Answer and

Affirmative Defenses of Modern American Recycling Services, Inc. to be served by email on:

                                     Bradford J. Sandler
                                      Andrew W. Caine
                                       Peter J. Keane
                        PACHULSKI STANG ZIEHL & JONES LLP
                            919 North Market Street, 17th Floor
                                       P.O. Box 8705
                      Wilmington, Delaware 19899-8705 (Courier 19801)
                                 Telephone: (302) 652-4100
                                 Facsimile: (302) 652-4400
                                   bsandler@pszjlaw.com
                                    acaine@pszjlaw.com
                                    pkeane@pszjlaw.com

                                       Counsel for Plaintiff



                                                      /s/ Davis Lee Wright
                                                      Davis Lee Wright (DE Bar No. 4324)
